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_________
michael@faillacelaw.com
                                                                               October 29, 2021
Via ECF
Honorable Brian M. Cogan
United States District Court
Eastern District of New York
300 Cadman Plaza E.
Brooklyn, NY

       Re:      Zepeda Ochoa v. Elmhurst Famous Pizza of Jackson Heights Corp. et al
                 21-cv-1604

Su Señoría:

       Esta oficina representa al demandante en el asunto mencionado anteriormente.
Escribimos para solicitar permiso para retirarse como abogados del demandante Abel Noel
Zepeda Ochoa de acuerdo con la Regla Civil Local 1,4.

        Esta solicitud es necesaria porque el demandante no ha cooperado con el procesamiento
de este asunto. El demandante informó a esta oficina que regresaría a su Honduras natal a
principios de este mes. No especificó cuándo o si regresaría, ni tampoco dio una dirección de
reenvío o número de teléfono en el que pudiera ser contactado en el extranjero, a pesar de que se
le preguntó. Esta oficina ha realizado numerosos intentos de ponerse en contacto con él a través
de la aplicación de mensajería WhatsApp, así como a través de su contacto de emergencia, quien
confirmó que había abandonado el estado pero no sabía dónde estaba.

       Hasta la fecha, a pesar de nuestros esfuerzos, el Sr. Zepeda no ha respondido. En
consecuencia, no vemos otra opción que tratar de retirarse como abogado para él. No vamos a
afirmar un cobro o retención de gravamen. Estamos sirviendo esta solicitud, tanto en inglés como
en español, en la última dirección conocida del demandante, así como a través de WhatsApp.

       Si el Tribunal requiere alguna información adicional para esta solicitud, se la
proporcionaremos. Agradecemos al tribunal su atención a este asunto.

                                                    Respetuosamente presentado,

                                                    /s/ Michael Faillace
                                                    Michael Faillace
                                                    MICHAEL FAILLACE & ASSOCIATES, P.C.
                                                    Attorneys for Plaintiffs




                          Certified as a minority-owned business in the State of New York
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Cc: (Via First Class Mail)

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